Case 2:05-cv-02394-.]PI\/|-STA Document 8 Filed 08/15/05 Page 1 of 3 Page|D 14

 

IN THE UNITED sTATEs DISTRICT coURT FII.ED BY D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN DSAUGIS PH 2zgh
THO?JV'\S M. GOULD

sosAN T. RowE, CUDKUS{RHUHCUFH

\.WD 0§ £"'-;; ’E;!?H¥S
Plaintiff,
v. No. 05-2394 Ml/An

ADT sEcURITY sERvIcEs, INC. and
TYCO INTERNATIONAL (US), INC.,

Defendants.

-._r~._¢-_»V-._z-._¢-_/-,¢VVV

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(f), a Rule 16(b) Scheduling Order
was entered on August 3, 2005, by United States Magistrate Judge S.
Thomas Anderson. In accordance with the deadlines established in
that order, the trial and pretrial dates are set as follows before

the District Court:

1. The jury trial in this matter, which is anticipated to
last three (3) days, is set to begin Mondayl July 17l
2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Mondav, Julv 10. 2006 at
8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on July 3l 2006.

Thss document entered on the docket sheet in compliance

with note 58 and/or 79(3) FHCP on 15 'OQ

Case 2:05-cv-02394-.]PI\/|-STA Document 8 Filed 08/15/05 Page 2 of 3 Page|D 15

Absent good cause, the dates established by this order shall

not be extended or modified.

IT Is so oRDERED this [Q day of August, 2005.

/Ql»\@.@§?`(l£)§ld

JON PHIPPS MCCALLA
UN 'I'ED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02394 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

issEE

 

Richard Click

1044 Brccktield

Suite 100

Scuthaven, MS 3 8761--026

Stephen D. Barham

CHAMBLISS BAHNER & STOPHEL
TWO Unicn Square

1000 Tallen Bldg.

Chattanooga, TN 37402

F. Laurens Brock

CHAMBLISS BAHNER & STOPHEL
TWO Unicn Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Joseph 1\/1. Sparkman
SPARKMAN LAW FIRM
P.O. BOX 266

Scuthaven, MS 3 8671--026

Honcrable Jon McCalla
US DISTRICT COURT

